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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 18-0822V
                                      (not to be published)


    ESTHER MUTEMA,
                                                             Chief Special Master Corcoran
                        Petitioner,
    v.                                                       Filed: November 8, 2019


    SECRETARY OF HEALTH AND                                  Special Processing Unit               (SPU);
    HUMAN SERVICES,                                          Attorney’s Fees and Costs


                        Respondent.


Jimmy A. Zgheib, Zgheib Sayad, P.C., White Plains, NY, for Petitioner.

Darryl R. Wishard, U.S. Department of Justice, Washington, DC, for Respondent.

                      DECISION ON ATTORNEY’S FEES AND COSTS1

       On June 12, 2018, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of the influenza (“flu”) vaccine administered on
November 6, 2009. (Petition at 1). On September 5, 2019, a decision was issued by
then-Chief Special Master Dorsey, awarding compensation to Petitioner based on the
parties’ stipulation. (ECF No. 43).




1 Although I have not designated this Decision for publication, it will be made available on the United States
Court of Federal Claims’ website in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note
(2012) (Federal Management and Promotion of Electronic Government Services). In accordance with
Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that the
identified material fits within this definition, I will redact such material from public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        Petitioner has now filed a motion for attorney’s fees and costs, dated October 9,
2019, (ECF No. 47), requesting a total award of $38,590.94 (representing $37,182.15 in
fees and $1,408.79 in costs). In accordance with General Order #9, counsel for
Petitioner’s counsel filed a signed statement stating Petitioner did not incur out-of-pocket
expenses. (Id.) Respondent reacted to the motion on October 9, 2019 indicating that he
is satisfied that the statutory requirements for an award of attorney’s fees and costs are
met in this case and defers to the Court’s discretion to determine the amount to be
awarded. (ECF No. 48). Petitioner did not file a reply thereafter

       I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs. §
15(e). Accordingly, I hereby GRANT Petitioner’s Motion for attorneys’ fees and costs. I
award a total of $38,590.94 (representing $37,182.15 in attorney’s fees and $1,408.79
in costs) as a lump sum in the form of a check jointly payable to Petitioner and his/her
counsel, Jimmy A. Zgheib, Esq. In the absence of a timely-filed motion for review (see
Appendix B to the Rules of the Court), the Clerk shall enter judgment in accordance with
this decision.3

IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master




3 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice
renouncing their right to seek review.
                                                 2
